Case 2:07-md-01873-KDE-MBN Document 17107 Filed 10/154&, BISTRICECOURT
EASTERN DISTRICT OF LOUISIANA|

UNITED STATES DISTRICT COURT ye

EASTERN DISTRICT OF LOUISIANA {FILED} OCT 15 2010

IN RE: FEMA TRAILER MDL NO. 187.
FORMALDEHYDE PRODUCTS SECTION N MAG. BORETTA G. WHYTE
LIABILITY LITIGATION CLERK

THIS DOCUMENT PERTAINS TO
Civil Action No. 09-7828 JUDGE ENGELHARDT

Shirley Acker, as Next Friend of C.A, a MAGISTRATE CHASEZ
minor, et. al.
Vs.
Fleetwood Enterprises, Inc., et al.
JURY DEMANDED

CERTIFICATE OF COMPLIANCE OF PRETRIAL ORDER NO. 55

Plaintiffs hereby request the Clerk of the Court issue summons in the above-
referenced matter. All parties have been matched to a manufacturer and contractor.

Respectfully submitted,

/s/ Robert C. Hilliard

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CERTIFICATE OF SERVICE
| hereby certify that the above and foregoing pleading was served on all counsel

of record through electronic notification pursuant to the electronic filing in the United
States District Court for the Eastern District of Louisiana this October 11, 2010

/s/ Robert C. Hilliard

ROBERT C. HILLIARD

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Summons to be issued to the following Defendants:

Fleetwood Enterprises, Inc.

American International Specialty Lines
Gibraltar Insurance Co.

Starr Excess Liability Insurance Company, Ltd.
Bechtel National Inc.

CH2M Hill Construction, Inc.

Fluor Enterprises, Inc.

Shaw Environmental, Inc
